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                  EXHIBIT M
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                                                                       Patents Granted by Organization[1]
                                                                                  2006–2016
                     6000




                     5000




                     4000
 Number of Patents




                     3000




                     2000




                     1000




                        0
                         2006    2007             2008          2009            2010          2011           2012          2013               2014               2015       2016


                                Samsung Electronics Co., Ltd.   Samsung SDI Co., Ltd.   Microsoft    Sony Corporation   LG Electronics Inc.     Motorola, Inc.      Apple

Notes:
[1] Analysis includes utility patents issued by the U.S. Patent and Trademark Office.
[2] "Apple" refers to patents issued to Apple Computer, Inc. (2006–2010) and Apple, Inc. (2011–2016).
[3] "Microsoft" refers to patents issued to Microsoft Technology Licensing, LLC (2015) and Microsoft Corporation (2006–2016).
[4] Patents granted to related entities are not reported.
Sources:
"Patenting by Organization," 2006-2015, U.S. Patent Office; "Top 300 Organizations Granted U.S. Patents in 2016," IPO, May 30, 2017, available at http://www.ipo.org/wp-
content/uploads/2017/05/2016_Top-300-Patent-Owners.pdf.
